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                            FOR THE DISTRICT OF COLUMBIA

                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )         Case No. 1:22-cr-00015-APM
                       v.                        )
                                                 )
 KELLY MEGGS,                                    )
                                                 )
                  Defendant.                     )
                                                 )


                               MOTION IN LIMINE
                     TO PRECLUDE OUT-OF-COURT STATEMENTS

        Defendant Kelly Meggs, by and through the undersigned counsel, hereby respectfully

requests this court preclude the following evidence during trial: (1) statements of the defendants

made before the defendants are alleged to have begun any conduct in furtherance of any of the

alleged conspiracies; (2) statements alleged to be evidence of planning any alleged conspiracy;

and (3) statements by those not alleged to be co-conspirators solely for “context.”

   I.      BACKGROUND

        Just days after the events at the Capitol on January 6, 2021, the government began filing

sealed complaints against members of the Oath Keepers, whom the government initially

described as, “a large but loosely organized collection of militia who believe that the federal

government has been co-opted by a shadowy conspiracy that is trying to strip American citizens

of their rights.” Aff at 3 ¶12, Complaint, United States v. Watkins, 21-mj-86 (Jan. 16, 2021)

(ECF No. 1-1). Members of the organization, the government alleged, “have been arrested in

connection with a wide range of criminal activities, including various firearms violations,

conspiracy to impede federal workers, possession of explosives, and threatening public

officials.” Id. at 5, Complaint, United States v. Watkins, 21-mj-86 (Jan. 16, 2021) (ECF No. 1-

1). And despite the events of January 6, 2021, giving rise to what the government has described,
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as early as March 2021, “one of the largest in American history, both in terms of the number of

defendants prosecuted and the nature and volume of the evidence,” Mot. Continue at 2, United

States v. Caldwell, No. 21-cr-28 (March 12, 2021) (ECF No. 73), the government had concluded

that the Oath Keepers had, inter alia, “conspired together and with others known and unknown

to obstruct the United States Congress’s affirmation of the Electoral College vote regarding the

results of the 2020 U.S. Presidential Election.” Aff. at 2, Complaint, United States v. Meggs, No.

21-mj-225 (Feb. 11, 2021) (ECF No. 1-1). In the more than eighteen (18) months that have

followed, the government’s investigative focus has been unwavering. The operative indictment

as against Mr. Meggs describes the Oath Keepers as, “a large but loosely organized collection of

individuals [--] some of whom are associated with militias [--] [with a] focus on recruiting

current and former military, law enforcement, and first-responder personnel,” and charges

various members with, inter alia, having participated in a scheme – seditious conspiracy – to

illegally oppose the lawful transition of presidential power leading up to and on January 6, 2021.

Superseding Indictment at 3 ¶ 3 (ECF No. 167).

       Remarkably, despite the breadth and scope of the government’s investigation, its

allegations rest almost entirely on a handful of inferential text message communications, not one

of which suggest that the Oath Keepers had any plan to stop the certification of the electoral

college vote on January 6, 2021. To that end, the government has identified 862 such

communications that it intends to admit as against Mr. Meggs and his codefendants. Defense

counsel provided objections to 530 of them and the parties engaged in good faith negotiations to

winnow their objections to these communications for the Court’s consideration. The result of

those discussions is the identification of four discrete legal disputes that should resolve
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objections to those communications for which the government seeks admission in the trial’s first

week.

   II.       LEGAL STANDARD

          The Confrontation Clause prohibits admission of testimonial hearsay in criminal cases

unless the declarant is unavailable and the defendant has been afforded a prior opportunity for

cross-examination. See Crawford v. Washington, 541 U.S. 36, 68-69 (2004). “The

Confrontation Clause of the Sixth Amendment provides a criminal defendant with the right ‘to

be confronted with the witnesses against him,’ including the right to cross-examine those

witnesses.” United States v. Straker, 800 F.3d 570, 595 (D.C. Cir. 2015) (quoting U.S. Const.

Amend. VI).

          Under Rule 801(d)(2)(A) of the Federal Rules of Evidence, a statement is not hearsay if

it, “is offered against a party and is . . . the party’s own statement.” Similarly, statements that,

“the party . . . adopted or believed to be true,” – referred to as adoptive statements or adoptive

admissions” are not hearsay. See United States v. Rivera, No. 21-cr-60, 2022 U.S. Dist. LEXIS

110742, at *3 (D.D.C. June 17, 2022). And admissions, “by a coconspirator of a party during the

course and in furtherance of the conspiracy” are not hearsay. United States v. Moore, 651 F.3d

30, 84 n.21 (D.C. Cir. 2011). To be admissible, such statements must also be relevant under

Rule 401 of the Federal Rules of Evidence, meaning that it must tend to make the existence of a

fact at issue more probable or less probable than it would be without the evidence.

   III.      ARGUMENT

          Of the roughly 300 statements for which the government first seeks admission, objections

thereto can be grouped into one of three categories: (1) statements of the defendants made

before the defendants are alleged to have begun any conduct in furtherance of any of the alleged
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conspiracies; (2) statements alleged to be evidence of planning any alleged conspiracy; and (3)

statements by those not alleged to be co-conspirators solely for “context.”

           a. Statements Pre-Dating the Alleged Conspiracies Neither Tend to Make a Fact
              More or Less Probable Nor are of Consequence to this Action.

       The government has proposed the admission of several statements pre-dating the

conspiracies alleged in this action. With respect to Mr. Meggs, the government seeks the

admission of two statements. In the first, Mr. Meggs is alleged to have texted an Oath Keepers

signal chat, on September 20, 2020, attaching photos of a firearms training he and other co-

defendants attended. In the second, Mr. Meggs is alleged to have texted a different Oath

Keepers signal chat: “Tomorrow determines the fate of our Republic. May god bless American

and let freedom continue to ring!” While these statements may be Mr. Meggs’s own statements,

they are not relevant to the criminal conduct alleged in the indictment.

       With respect to Mr. Rhodes, the government seeks the admission of several statements

regarding his views on the significance of the 2020 election and his desire that President Biden

not prevail in the same. Of note, on November 7, 2020, Mr. Rhodes sends several Oath Keepers

signal chats messages related to a “Serbian patriot,” for whom Mr. Rhodes relays the advice of

that patriot concerning efforts to overthrow Slobodan Milosevic as President of Serbia in the late

1990s. These statements are similarly not relevant to the criminal conduct alleged in the

indictment. They were sent before the 2020 election had been called and therefore could not

have been in furtherance of any scheme to preclude President Biden from taking office.

       Even were the Court to conclude these statements are relevant to the instant action, they

should nevertheless be excluded because their prejudice outweighs any probative value. Fed. R.

Evid. 403. Their admission as against just Mr. Meggs or Mr. Rhodes, respectively, cannot be

divorced from the remaining co-defendants whom have nothing to do with the statements.
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           b. Statements Pre-Dating the Alleged Conspiracies are Not Admissible as Against
              Alleged Co-Conspirators.

       The government also seeks the admission of statements by Messrs. Rhodes and Meggs as

coconspirator statements pursuant to Rule 801(d)(2)(E) of the Federal Rules of Evidence.

Although Rule 801(d)(2)(E) permits the admission of an out-of-court statement by a co-

conspirator during and in furtherance of a conspiracy, any such statement’s admissibility requires

the government to demonstrate, “by a preponderance of the evidence that the person making the

statement [be] a co-conspirator and . . . the statement [be] made during and in furtherance of the

conspiracy.” United States v. Gatling, 96 F.3d 1511, 1520 (D.C. Cir. 1996) (citing Bourjaily v.

United States, 483 U.S. 171, 175-76 (1987)). Importantly, the D.C. Circuit requires that, “there

be independent evidence of the conspiracy apart from the statement.” Id. (citing United States v.

Beckham, 968 F.2d 47, 50-51 (D.C. Cir. 1992)).

       The government has argued statements of Messrs. Rhodes’s and Meggs’s uttered before

any alleged conspiracy is alleged to have begun are admissible as proof of planning the

conspiracy. Rule 801(d)(2)(E), however, does not permit the admission of statements of “proof

of planning.” To the contrary, the government must establish, beyond a preponderance of the

evidence that any such statements are in furtherance of an active conspiracy – the existence of

which it must establish through independent evidence. See Gatling, 96 F.3d at 1520. This the

government cannot do – it concedes that prior to November 9, 2020, any statements by Messrs.

Rhodes and/or Meggs are being offered only for planning purposes.

           c. Statements by those Not Alleged to be Coconspirators are Inadmissible.

       The government has identified dozens of statements it seeks to admit as “context” for

otherwise “neutral” statements that with “context” become statements against the declarant’s

penal interest. See Fed. R. Evid. 804(b)(3). Such statements, however, are not admissible unless
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taken as a whole the statements tend to make the existence of a fact at issue more probable or

less probable than it would be without the evidence. See Fed. R. Evid. 401. For example, when

Ms. Watkins writes, “if Biden gets the steal, none of us have a chance in my mind, [w]e already

have our neck in the noose [and] [t]hey just haven’t kicked the chair yet,” the response by an

unknown declarant: “[s]o should I get comfortable with the idea of death?” is not context. To the

contrary, it is Ms. Watkins’s statement that provides the “context” to the unknown declarant’s

statement. Accordingly, any statement by an individual not alleged to be a co-conspirator must

be carefully scrutinized and not simply admitted for “context.”

                                        CONCLUSION

       For the foregoing reasons, Mr. Meggs’s respectfully requests the Court preclude the

admission of the following out-of-court statements: (1) statements of the defendants made

before the defendants are alleged to have begun any conduct in furtherance of any of the alleged

conspiracies; (2) statements alleged to be evidence of planning any alleged conspiracy; and (3)

statements by those not alleged to be co-conspirators solely for “context.”

                               [SIGNATURE ON NEXT PAGE]
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Dated: October 3, 2022           Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        On October 3, 2022, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.

                                                       /s/ Stanley E. Woodward, Jr.
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